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 /11 I '-'-A I~ IJ         r.     LON kE't._                         FILED IN UNITEB                                                                                1



 r-c.. I   -   I "I 00     5,rn le/L11'-"'~'--------------------C_O_UR_T,_-D--'IS:_;_T-81',__.._R/C7VBfR~~w1cr
 l.:11G, '5f'/flhf,             1'",K 7'l7t.CJ                                                                                      MA APRTT:1D20;"
--------------------------a-v_:·                                                                                                      -A-~ONES, CLERK




   ·l)JvJ°et:.> '-r~~me~t~;,.=il'J~------ ----------~t?..=Lt_.::i e --~: .IS C!lf 3~~,.._Q_ __
           f::JlA rh T1 f _ , , · f ' - - - - - - - - - - - - - • - - - - - - - - - - - - - - - - - - - - - - - - - - - ~ - - - - - - - - - - - - - - - - - -
                                                                                                 IJ1e-J'i-CAJ ~,e_ ~J'},S,LP~~,,tJ-;; ~
 _ _ _ _v'_'?_,,_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _____f.L../tl.:!f'~_Lf'~;,/tg____-5:___f.e~•--------:


-- Md.,(,,f(Je_a        J: L.,,n&>?_-_________________ S_C!_t>F
                                                              __ _!?tP(lflf?                                         Ne.. f!f'-et(
___R_c;."'fk~llA!nL~--- ----- ---



---.,-------------------------------------------1
     r,,e       /)4';!/bNl).4,{£_,__fi_ /119(!,ll/g/fHf     f'>-c. -Pe'~ -J-tl__k___l')_J.i_ /!1tJ1io,;rt:;       ~£        _OQ!~ 1"~.tc-.~':>N-~o~f.____        ---i



    fkn1e~~- at-.J 'f /11At€c.b~O~e. fr/a1)_e»,)                                         ~t/_S O/°$,J(!!f,:...1<-:!KJ        ro      /E~_------"lj,J-'--'t;;z=------'
Jf&.10-&f!__f!:_ QN /J?/Jie<;,t, 1!5,_ zo70.,,               Me. //e-lif:NP.4,uJ'               ~-f../7" t1   R~ 8 o '7"1'A L..         -t:_~·o_ _ _ _ _ __
   p,<..17,,,w££_:,        Q?}';/1:k;,.,T/QN     ON       /?PRtL 3,, 2..c)/.',c;        b.)✓-    CP-m/-tet:,        /1/},,f/lL- ;;,,: 70/(c,- 13 70          -
  0006 - 9o 5' 7 ·-707 z._, .rl ll ett_:.;1S/OW (;,V,4 j /f__<?N(')_e_,~__12__8__ y-dls /i'(}N,d a:
  -J(.> ~ e.. Alol~ti: ON /1 P~I L "3 " Z,o i. ~ OeIV y l_/fj__ '? Ivt2,_TP..i'6J_l2,ff.n5s. /J? c /IDN,,,
  Tl11s IIOA.JO.i~t.rl~ &v--'5Lr_/4_4 J:Jc No -;;,.,,._,~ rt-~ C.O✓vSM1<-: /f ~ f.t?A.t/2.!!Al=s-_ _ _ _ _ __
  he8~D~Jt- 'ii mos OeNr-L~ 12rtf61/il.t:?AP-7 7A.e 6.,P.P<:1.-e;-t:.....A.,.I/~                                            f:c,i   ~/2--e..i'- <r-----
  fj,,_"?S::!!n1        /21'$    e.d__s_e~------------------------------

    ~•                     -1i           -                         I(/                                                                       ,,.   £11.
    /c)    tl!l_t!i;_      I    ,e~ eK'l-usT.s             ,...,     ~RA.a£42/'d,,fJAy~IVQ_t:10A?/k~L/n!J___-rA_r:,_z;i,~.---
___TMT' {&__,11'~/!1-~-ZS     1-e C!c}n ~:/'/)<':lf6J'Tl'D1l A N¥dA' fr-<_<!,6~ ~e                                   lr~at,cJ_,4L_~~S_ _o_r~r;_4<!-=-----
  Cb.teo11..16,I_IL_~_(2S,_Cc,_QJL_(D:_~] r>/JND8m , ~J'"hr:. J:k~N.()1(/117                                        /24 ,-; C.oPi1 f/t,.s/dM_ __
  Pto61ems; Loe~~ t:3.-r...J( I' S.Se,,:,e s ,,,.""'?Vl/f( 1nr___/)(/__4.;[h£:_ __J_ /C__~1-.1~·~;49_t~'v_O~------
                                                                                                              (.,J/1?.,.~


  ff~__c__-te.J12L~-Th1J/ !!2Ai!e s 1-ur>? ekrti?me~, vo<-!Ve>jJ:,_&tfiLe. t~ 1h e e GP"~h7
_/;Jg_.,qg_t.,~         1/tif_uJ~ 14e            0((.!.fu/:IJtMs-i T          ,.s   CJN!/18ie       to   <:?,e,mp~,, f,,ofJi:i-fl-<J_'1~~JL~
   ~~,neNl)(f!t:J_j}_OC1,,q(. l?IS7xt~"'i                                     rvle.~       ()GJ~         r~      l?t'teh-}_iL~~             L...O;>IM~,~---

   /J1,9 ✓<es r/2~ tJ<£klj&)dn7.s                          S11v47"~C,.A/             .... e'?(Tl,?Z1t:}l_?_,QL~,6/_P.5!-.A-L~ ~OM~/.tttJq ~
----------------                                                         -··--~~----~----·----
                                   Case 2:15-cr-00368-DN Document 35 Filed 04/27/20 Page 2 of 3




   13a lov~ The h1v'.S 51 e  c.1· Pv1St,1G (..41,,v I IS·- '5 9t) f71ie..- 11<!,k ,IQ se
-~~-5e,!>1',,eUJJ-'3-~_Ci)_(iLA_L(,, ,vs lotfa?. LJ_/!11 & J: 1.1PJuoa-_11_1f_<!,.. o -r /~
      /Mt"?Jn1hs .. lfo<.<.~U!!-tr          OA.JlJ<!;e,      1'~~r,               1,      (!. &!!Af€f.j;f-    .S T/'f 1<f! s        /;v   S&fttJN
    '3G::,;J..~_!i_ Amtf/11.J/,JetJ;                1T    ., :5   N~      w      (/NJOL.8.         fn,e )')1s cn~rrLDN                    6L£h_e~--
     5eM~t.M 1 c;oon. r rh ~ r                              iu he ,v ·7lJ e            /?p1 sonel!I_6.A_s_~,e0JAL~e...,,.o~------'
     ✓O 18e            ~    MI/Vlllu.,2Rk1        "'1A. .L.oJJJ_fr'.L:.S.L'f_ %        6ee.111?I' 1//11€            S...6_/£!£.L.     /-d,"'n#fJ;r../ /   N
_/uu;ne.. (';e>4.f!tl!JP~~r. 0&17I' (,,.,_l:12~~/r-1s~~-A/LS- se;--i.1/fl O ,VO                /4 s.s:                                r
  rb..l!J/J,l. q'5~            ar:                           ~1ar/
                        r1,e. /1rt~~$ /hl/Jt?.>f-Alt:J rt!'sV:J'M (.7,-f-' J/'J7P;--1SC>N/'11'Je.nz:_
    102. (y)_(})__.,__ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _--!
                                                                                                             -------~------1
     _I,v 1!1_1sT~err.1                       v.     U11✓t~.:Q_J'-f.41te~ ~JJR us 3c,,_l;3 r(;:F~t-e_____._________                                                   1




__IY}_r1~No Le<ra_JJ.e {~/:J                        rh-AT rhe G~" ;el!l,_yg_ eod11'];.v,u~o I' N 7Ae
     Xfl\li-•1t.l~1l-5t--       (~U/.ae./,e1-IQ.f2.S__. 1,1,.1'/41 .5     111 c!dNS'df'.~_Afr__ _l_tJ__f'_ll}_,Tl,,<2. <.!-/2-4.LL~ .S~---___,
                                  Ii       }:;!                         .-r:
     ,i)//)
-~''l_,:l)_f){e_:::_ IN    1/;e. ttCT..   ve e'4o.s-e a£                71;,:e   @.,,<UJ_f!l,,,~T .J./'M7,,._~~E=e'<-',,e:..:11:...=Q.:.,c.c~=·~'""'-'°~:_ _ _ _ __

              c;TAus      t:6E:~r,                  1117~,e-/l- re ·tFJ 110N            t1.f S-rs~l/<)N           .3 5' £2,_~l~) ~~)____
_    ____c/l.tJ_SJe_l)___C!./-..L t12e_'le,~__ 5-z:~_n✓'T<t;'(l ¥-b.ilif_6~~--•&NJ2                                   $r)f     ,,,-..."!.r~ e   .
____ t1.11J~a11Sll1e1ft.i_[/dtY. c:,f                      {!,,~~11.~r;;s •·.s ,f'f-l:J1L.,-rr---t:.o SZJL<r.&1.12€ t~-.&y,,,____·-----;
          t:Jf   rk        (ffm1?1.LSS ION$           t?htJL~1LJ~h¾'i'ntS ,&_I___~_~:____L_t"';-l2e;;) _ _ _ _ _ _ _ _ _:
-~M~uSZ'/_7?._CZ/!t ·Vtt UN/KL_~_ _Ls_ ll'L,(1_1!_,_1,_<.1_/~---/4--P~N-t74.&J:_·______,
__ D!f'I IL"<f-!L& /J,Jo 'ltod h-~_S__(SI',,-, /<'f!he,_ e B..e./2.u~~--u toIQ_i:!_&___ /Z~.(.J_112_~-'-1-l2.el l ~ - -
__/!ro VJ~ 10-MS-;;_Lhe C,-,v~· c. AN Pe.---&:~,..,,,L/11 e 1.1v 6~ 1k1z__--.4¥_------
__''e_&r..lf.LJ_Q~IJ I M~r AN{) e.oY1,;/et,laJ5? Dl 1"<:,AS<.VV:$ OJhs.r fli1nn~AL_£h,::..6-e._ _ __
_____c,_{e,_lr.n-4Ze.a /N       US,S_06. S::c"UD__f\l--4 13 l l 13 ~J: M Crt)_{~~-----
       W II ft RA Af( fj t"IAn 711n~ {l,:gl. i<!:. f- .,. il




         0,J 4-1':f__:7..0 _1,_ llefeNcl              11n,        A</AllVI        oem         rl     ~c.r£i!,,sr fl>,.              r<SJ£4'se.      fo
         tJ,.JlJ.&/2e~ll.J-'l!J.BBQ.s.e..,~;1-l2. ue.. __tc> Til,?.__~oe inr______C_cJ t.ut).~(_'9__/2111ilf1£m                                     ,e. 1__ A~N~·_
     1
_  '_&)(,fR-A£J.iJ2.il/).!I/.B--f A NK] _J2.n02~ ':'LL":::1 ~. CJ 4:' (ij,,Ot'n ~7'9r!..A1te... CL~=-J.I!:.==--_.L:r6=---~=------
_ _ts:f'..le.t.1t'b'(----,P..AS ~e, p ~ /1 le E II<':..t
                                                        7
                                                          H, R" 7'I~I 1 /:)...e.~t:2AA7 <?.. An /?_cit <!., cwn PL                                        1___
----lA.u'-tk_q_ o i:,e ll"tu me nC 112.l!l!JWA[e.o Soc., ,fil=:_aa1:111uaI//Yi?-4- 0,12.d,.ne.s tJ o e 7'o
    .        V'~        ,              J:.'/2                            e,                                  -r
___(2ofR.!21J/Ol2 'f-t-.1'..Ja.!!J-!!f~-,r,; _ L / S _ _ / _ L - - " ' " " - - - - - - " " ' ' - - - - - - - - - - - - - - - - - - - - - -


___Q ~fi~,.," /2-A/_AJ.tl__ M.£_,aK!,,4-Lt._2-'S..~2-/ r1r✓,n,.,.ALL~_.c____Qe_o~a________
--~111,,/!!/J_y~~-~ ,;<J /s. 0 121.Lfllfe $ TIJ .ts.                                eo
                                                              il L/2 ·-t 9__/i'AAJ/2<!'Pn ,16
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      P./.JPlltc,L/L~RhY-       /;;J,~rv7-ie1;--o.:;$    /c".>   Oc-::/J4'f,!~(}4A.J1:..      !i't?.ove'?       of   r'r1SeJt1e//S
--4A-u~-M15f r:>c:ZeN                         s ,c_~{en.e-t2        ~Nl:J ,;e:e,;,            or     Th,s Qe. se4se ,.                     __
_ {Je.le1JJIM.JdT, LeJu.~i,c_l3.1Jc-0 tsse.:e_ is ,vc.),· <Me~c: y . A                         4
                                                                                                            ISate 1311G1<. .,, .., /fJ<q_
__/JeflE1..t:M21S1/JLt'.   /ht/ST It II ve f?A'-roR... 5o(l~(C_'1'- tlJc~t,,,,;P_,ln'f                      Fos 10&(;-)f:!~e,.______~
-~E~a:b11J1-1: C, ,:_N.___1/ie.      _Ofl(_&//1..!.~f~    f>'2011t.)N) ~       rtl:fi!     tle-6.:stutl.,,,rJ/.1LL-/LtS..LCMl-/£l'c.'')~ij{J=/e.~'' M ~ - -
--~-'9llltle s oe l.1(1;.6!11:,,_ e ~---:l ,,,e..., er¥ ~ ~o rre~_.7 ht s lL/il:,-'~ 'u_;/J t<~ti :1,_-~'---
--ft-~Se1::Jt:1 f!4~l1lO.i /3_fz~1t_tte,c:re.i2_ 18~7-80P '!/~·~"------------


__ o~~~lit-~z:__111-_1·1/)-1~-~~T ThtS !TtJtLJC>f:..,t/Ak &u~7· "(~lfL&f:L_ /le C.te £_1_nJ_ _ __
__ flu~ IZl)_a <5T~~Lo~__ /2.,,&-.Z-r-t:::-B..-.,,,_      ---------------- --------    - - - - ~--------:




___/J1LLllG'1c..1J_c ___l__o_l'2.i<-e-y-2_·- - - - - - - - - - - - - - - - - - - - - - - - -
                                          1
    /J/9JelJ        A/- -lc:J--J~o       --------------------------------------




         ----------------------------          ---
